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                          United States District Court
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §    CRIMINAL ACTION NO. 3 :20-CR-0449-S
                                                §
TERRENCIO FASHON WILSON (1)                     §

         ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
      UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a
Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning
Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed
within 14 days of service in accordance with 28 U.S.C. § 636(b)(l), the undersigned District Judge
is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea
of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the
plea of guilty, and TERRENCIO FASHON WILSON (1) is hereby adjudged guilty of 18 U.S.C.
§ 1952(a)(3), Interstate Travel in Aid of Racketeering. Sentence will be imposed in accordance
with the Court's Scheduling Order.

        The Defendant is ordered to remain in custody.

        SO ORDERED.

        SIGNED November 10, 2021.



                                                      REN GREN SCHOLER
                                                    UNITED STATES DISTRICT JUDGE
